




Dismissed and Memorandum Opinion filed December 11, 2008








Dismissed
and Memorandum Opinion filed December 11, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00849-CV

____________

&nbsp;

TAMI HALPHEN,
Appellant

&nbsp;

V.

&nbsp;

JOHN EDWARD KEELS,
Appellee

&nbsp;



&nbsp;

On Appeal from County Civil Court
at Law No. 4

Harris County, Texas

Trial Court Cause No.
914964

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; &nbsp;O P I N I O N








This is
an appeal from a judgment signed August 12, 2008.&nbsp; The notice of appeal was
filed on August 25, 2008.&nbsp; To date, our records show that appellant has neither
established indigence nor paid the $175.00 appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent);Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals and
Before the Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138
(Tex. Aug. 28, 2007) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). 

After being given the requisite ten-days= notice that this
appeal was subject to dismissal, appellant has not paid the filing fee in accordance with our
order of October 23, 2008.&nbsp; See Tex.
R. App. P. 42.3.&nbsp; Accordingly, the appeal is ordered dismissed.&nbsp; See
Tex. R. App. P. 42.3(c) (allowing
involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 11, 2008.

Panel consists of Justices Frost, Brown, and Boyce.

&nbsp;





